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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            )                               Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a )                               Case No. 19-11466 (KG)
HAHNEMANN UNIVERSITY HOSPITAL, et )
al.,1                             )                               Jointly Administered
                                  )
                    Debtors.      )                               Re: Docket No. 142
                                  )

       ORDER (I)(A) ESTABLISHING BIDDING PROCEDURES RELATING TO
     THE SALE OF THE DEBTORS’ RESIDENT PROGRAM ASSETS, INCLUDING
  APPROVING A BREAK-UP FEE, (B) ESTABLISHING PROCEDURES RELATING TO
  THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS,
   INCLUDING NOTICE OF PROPOSED CURE AMOUNTS, (C) APPROVING FORM
             AND MANNER OF NOTICE RELATING THERETO, AND
       (D) SCHEDULING A HEARING TO CONSIDER THE PROPOSED SALE


               Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

  debtors in possession (the “Debtors”) for the entry of an order (this “Bidding Procedures

  Order”): (a) approving the proposed bidding procedures attached as Schedule 1 to this Bidding

  Procedures Order (the “Bidding Procedures”), by which the Debtors will solicit and select the

  highest or otherwise best offer for the sale (the “Sale”) of the Residents Program Assets;

  (b) establishing procedures for the assumption and assignment of executory contracts, including

  notice of proposed cure amounts (the “Assumption and Assignment Procedures”);

  1
               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
               number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
               PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
               Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
               Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
               (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
               230 North Broad Street, Philadelphia, Pennsylvania 19102.
  2
               Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the
               Motion or the Bidding Procedures, as applicable.



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(c) approving the form and manner of notice with respect to certain procedures, protections,

schedules, and agreements described herein and attached hereto; (d) approving the Debtors’

selection of Tower Health (“Tower Health”) as the stalking horse bidder (the “Stalking Horse

Bidder”) 3, the Break-Up Fee (as defined below) for the Stalking Horse Bidder, and that certain

asset purchase agreement (as may be amended from time to time, the “Stalking Horse Sale

Agreement”), as filed with the Court [D.I. 246], among Debtor Center City Healthcare, LLC

d/b/a Hahnemann University Hospital (the “Seller”) and the Stalking Horse Bidder;

(e) scheduling a final hearing (the “Sale Hearing”) to approve the Sale; and (f) granting related

relief, and upon the Debtors’ further request that, at the Sale Hearing, this Court enter an order (a

“Sale Order”), a proposed form of which is attached as Exhibit E to the Stalking Horse Sale

Agreement: (x) authorizing the sale of the Residents Program Assets free and clear of Interests as

defined in footnote 4, below (the “Interests”)4, with any such Interests to attach to the proceeds

thereof with the same validity, extent and priority (under the Bankruptcy Code) as such Interests

existed immediately prior to the consummation of the Sale; (y) authorizing the assumption and

assignment of certain executory contracts; and (z) granting related relief, all as more fully

described in the Motion; and the Court having found that it has jurisdiction over this matter

3
             The Court has been advised that Reading Hospital, a subsidiary of Tower Health, will actually serve as the
             Stalking Horse Bidder and, as a result, all references herein to the Stalking Horse Bidder shall be deemed to
             include Reading Hospital.
4
             Interests shall include: (i) mortgages, security interests, conditional sale or other title retention agreements,
             pledges, liens, rights of offset, judgments, demands, encumbrances and claims (as that term is defined in
             the Bankruptcy Code), (ii) rights or options to effect any forfeiture, modification, repurchase, or
             termination of the Seller’s or purchaser’s interest in the Assigned Contracts and/or Residents Program
             Assets, regardless whether such are “claims” as that term is defined in the Bankruptcy Code, (iii) claims of
             the Pension Benefit Guaranty Corporation or any plan participant or beneficiary, (iv) tax claims (including
             taxes as to which applicable returns have not yet been filed, whether or not overdue), and (v) restrictions,
             rights of first refusal or charges of any kind or nature, if any, including, but not limited to, any restriction
             on the use, voting, transfer, receipt of income or other exercise of any attributes of ownership, regardless
             whether such are “claims” as that term is defined in the Bankruptcy Code, and with respect to the rights
             described in this sub-clause (v) only as they relate to the Resident Program Assets that are the subject of the
             Stalking Horse Bidder’s Stalking Horse Sale Agreement.



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pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court

having found that the relief requested in the Motion is in the best interests of the Debtors’ estates,

their creditors, and other parties in interest; and the Court having found that the Debtors provided

appropriate notice of the Motion and the opportunity for a hearing on the Motion under the

circumstances; and the Court having reviewed the Motion and having heard the statements in

support of the relief requested therein at a hearing, if any, before the Court; and the Court having

determined that the legal and factual bases set forth in the Motion and at the hearing establish

just cause for the relief granted herein; and upon all of the proceedings had before the Court; and

after due deliberation and sufficient cause appearing therefor, THE COURT HEREBY FINDS

THAT:

             A.           The findings of fact and conclusions of law herein constitute the Court’s findings

of fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable

pursuant to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law,

they are adopted as such. To the extent any conclusions of law are findings of fact, they are

adopted as such.

             B.           This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue in this Court is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

             C.           The statutory bases for the relief requested in the Motion are sections 105, 363,

365, 503, and 507 of the Bankruptcy Code, Bankruptcy Rules 2002(a)(2), 6004, 6006, 9007, and

9014, and Rule 6004-1 of the Local Rules of Bankruptcy Practice and Procedure of the United



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States Bankruptcy Court for the District of Delaware (the “Local Rules”). The legal and factual

bases set forth in the Motion establish just cause for the relief granted herein. Entry of this

Bidding Procedures Order is in the best interests of the Debtors and their respective estates,

creditors, and all other parties in interest.

             D.           Notice of the Motion, as relates to the Bidding Procedures Hearing and the

proposed entry of this Bidding Procedures Order, was adequate and sufficient under the

circumstances of these Chapter 11 Cases, and such notice complied with all applicable

requirements of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules. Notice of the

Motion as relates to the Bidding Procedures Hearing and the proposed entry of this Bidding

Procedures Order has been given to: (a) all entities known to have expressed an interest in a

transaction with respect to some or all of the Debtors’ Residents Program Assets during the past

six (6) months; (b) all entities known to have asserted any Interest in or upon any of the Debtors’

Residents Program Assets; (c) all federal, state, and local regulatory or taxing authorities or

recording offices which have a reasonably known interest in the relief requested by this Motion;

(d) known counterparties to any unexpired leases or executory contracts related to the Residents

Program Assets that could potentially be assumed and assigned to the Successful Bidder;

(e) counsel to MidCap Funding IV Trust; (f) Drexel University d/b/a Drexel University College

of Medicine; (g) the Debtors’ unions; (h) the Internal Revenue Service; (i) the United States

Attorney for the District of Delaware; (j) the United States Department of Justice; (k) the

Pennsylvania Attorney General’s Office; (l) the Pennsylvania Department of Health; (m) the City

of Philadelphia; (n) the CMS; (o) the ACGME; and (p) any party that has requested notice

pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). Accordingly, no further




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notice of the Motion as relates to the Bidding Procedures Hearing and the proposed entry of this

Bidding Procedures Order is necessary or required.

             E.           The Debtors have demonstrated a compelling and sound business justification for

the Court to grant the relief requested in the Motion as relates to the entry of this Bidding

Procedures Order, including, without limitation:                (a) approval of the Bidding Procedures;

(b) approval of the selection of the Stalking Horse Bidder and approval of the Break-Up Fee to

be paid to the Stalking Horse Bidder under the circumstances described in the Motion;

(c) approval of the Assumption and Assignment Procedures; (d) approval of the form and

manner of notice of all procedures, protections, schedules, and agreements described in the

Motion and attached thereto; (e) the scheduling of a date for the Sale Hearing; and (f) all related

relief as set forth herein. Such compelling and sound business justification, which was set forth

in the Motion and on the record at the hearing for such Motion, are incorporated herein by

reference and, among other things, form the basis for the findings of fact and conclusions of law

set forth herein.

             F.           Entry into the Stalking Horse Sale Agreement with the Stalking Horse Bidder is

in the best interests of the Debtors and the Debtors’ estates and creditors, and it reflects a sound

exercise of the Debtors’ business judgment. The Stalking Horse Sale Agreement provides the

Debtors with the opportunity to sell the Residents Program Assets in order to preserve and

realize their optimal value, while at the same time minimizing the negative impact of the closure

of Hahnemann University Hospital on Residents, as well as upon the Debtors’ academic

affiliation partner, Drexel University.

             G.           The Bidding Procedures, in the form attached hereto as Schedule 1 and

incorporated herein by reference as if fully set forth in this Bidding Procedures Order, are fair,



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reasonable, and appropriate and represent the best method for maximizing the value of the

Debtors’ estates. The Break-Up Fee: (a) shall, if triggered, be deemed an actual and necessary

cost and expense of preserving the Debtors’ estates, within the meaning of sections 503(b)

and 507(a)(2) of the Bankruptcy Code in accordance with the Stalking Horse Sale Agreement;

(b) is commensurate to the real and substantial benefit conferred upon the Debtors’ estates by the

Stalking Horse Bidder; (c) is reasonable and appropriate, including in light of the size and nature

of the Sale and comparable transactions, the commitments that have been made, and the efforts

that have been and will be expended by the Stalking Horse Bidder, notwithstanding that the Sale

is subject to higher or better offers; and (d) was necessary for the Stalking Horse Bidder to

pursue the Sale and to be bound by the Stalking Horse Sale Agreement.

             H.           The Debtors have demonstrated a reasonable business justification for the

payment of the Break-Up Fee under the circumstances set forth in the Stalking Horse Sale

Agreement. The Bidding Procedures and the Break-Up Fee were a material inducement to, and

express condition of, the willingness of the Stalking Horse Bidder to submit bids through

execution of the Stalking Horse Sale Agreement that will serve as a minimum or floor bid on

which the Debtors, their creditors, and other bidders may rely. Unless it is assured that the

Break-Up Fee will be available, the Stalking Horse Bidder is unwilling to be bound under the

Stalking Horse Sale Agreement (including the obligation to maintain its committed offer while

such offer is subject to higher or otherwise better offers as contemplated in the Bidding

Procedures). The Stalking Horse Bidder has provided a material benefit to the Debtors and their

creditors by increasing the likelihood that the best possible purchase price for the Residents

Program Assets will be realized and that Residents will be protected.




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             I.           The Assumption and Assignment Notice is appropriate and reasonably calculated

to provide all interested parties with timely and proper notice of the potential assumption and

assignment of the applicable Designated Contracts in connection with the sale of the Residents

Program Assets and the related Cure Costs, and no other or further notice shall be required. The

Motion and the Assumption and Assignment Notice are reasonably calculated to provide

counterparties to any Designated Contracts with proper notice of the intended assumption and

assignment of their Designated Contracts, the procedures in connection therewith, and any cure

amounts relating thereto.

             J.           The Auction and Sale Notice attached hereto as Schedule 5 is appropriate and

reasonably calculated to provide all interested parties with timely and proper notice of the sale of

the Residents Program Assets, including, without limitation: (a) the date, time, and place of the

Auction (if one is held); (b) the Bidding Procedures; (c) the deadline for filing objections to the

Sale and entry of the Sale Order, and the date, time, and place of the Sale Hearing;

(d) identification of the assets to be sold; (e) instructions for promptly obtaining copies of the

Stalking Horse Sale Agreement; (f) a description of the Sale as being free and clear of all

Interests, with all Interests attaching with the same validity and priority to the Sale proceeds; and

(g) notice of the proposed assumption and assignment of Designated Contracts to the Stalking

Horse Bidder pursuant to the Stalking Horse Sale Agreement (or to another Successful Bidder

arising from the Auction, if any), and no other or further notice of the Sale shall be required.

             K.           All current and former patients of Debtor Center City Healthcare, LLC (“Center

City”) who have, as of the date of this order, asserted claims against Center City, including but

not limited to claims formally asserted by the filing of suit or a proof of claim in these

Bankruptcy Cases and claims informally asserted by letter or by a request for medical records



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from a lawyer or otherwise (the “Known Patient Creditors”) shall be treated as known creditors

of the Debtors for purposes of notice requirements related to the Sale.

             L.           All current and former patients of Center City who, as of the date of this order, are

not Known Patient Creditors (including current and former patients who are not, as of the date of

this order, aware that they have or may have claims against the Debtors including such patients

as to whom personal injury has not manifested as of the date of this order) (the “Unknown

Patient Creditors”) shall be treated as unknown creditors of the Debtors for purposes of the

notice requirements related to the Sale.

             M.           The Debtors’ marketing process has been reasonably calculated to maximize

value for the benefit of all stakeholders.

IT IS HEREBY ORDERED THAT:

             1.           The Motion is granted as provided herein.5

             2.           All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled as announced to the Court at the hearing on the Motion or by stipulation filed

with the Court, are overruled.

I.           Timeline for the Sale

             3.           The Debtors are authorized to perform any obligations of the Debtors set forth in

the Stalking Horse Sale Agreement that are intended to be performed prior to the Sale Hearing or

entry of the Sale Order. The Debtors, in consultation with the Official Committee of Unsecured

Creditors (the “Committee”), as indicated herein and in the Bidding Procedures, are authorized

to proceed with the Sale in accordance with the Bidding Procedures and are authorized to take



5
             Notwithstanding anything to the contrary herein, or in the Bidding Procedures, the acceptance of a Bid and
             Sale Agreement by the Debtors and the consummation of a Sale are subject to entry of the Sale Order.



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any and all actions reasonably necessary or appropriate to implement the Bidding Procedures in

accordance with the following timeline:

                              Milestone                                      Proposed Date

 Deadline to Object to Approval of the Sale to the                 4:00 p.m. (prevailing Eastern Time)
 Stalking Horse Bidder on the terms of the                                 on August 5, 2019
 Stalking Horse Bid as set forth in the Stalking
 Horse Sale Agreement
 Bid Deadline                                                      4:00 p.m. (prevailing Eastern Time)
                                                                           on August 5, 2019
 Auction (if necessary)                                           10:00 a.m. (prevailing Eastern Time)
                                                                           on August 7, 2019
 Sale Hearing                                                    August 9, 2019 at 11:00 a.m. (prevailing
                                                                             Eastern Time)
 Deadline to Object to conduct of the Auction and                  (may be raised at the Sale Hearing)
 Sale to a Successful Bidder (Other than a Sale to
 the Stalking Horse Bidder on the terms of the
 Stalking Horse Bid as set forth in the Stalking
 Horse Sale Agreement)

             4.           For the avoidance of doubt, the Debtors, in consultation with the Committee,

reserve the right, and are authorized to, modify the above timeline and the Bidding Procedures in

accordance with the provisions of the Bidding Procedures, subject to the terms of the Stalking

Horse Sale Agreement.

II.          The Bidding Procedures

             5.           The Bidding Procedures, substantially in the form attached hereto as Schedule 1,

are approved in their entirety. The Debtors are authorized to take any and all actions reasonably

necessary or appropriate to implement the Bidding Procedures, in accordance therewith and the

Stalking Horse Sale Agreement. The failure to specifically include or reference a particular

provision of the Bidding Procedures in this Bidding Procedures Order shall not diminish or




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impair the effectiveness of such provision, it being the intent of the Court that the Bidding

Procedures be authorized and approved in their entirety.

             6.          The process and requirements associated with submitting a Qualified Bid are

approved as fair, reasonable, appropriate, and designed to maximize recoveries for the benefit of

the Debtors’ estates, creditors, and other parties in interest. As further described in the Bidding

Procedures, the Bid Deadline shall be 4:00 p.m. (prevailing Eastern Time) on August 5, 2019.

Any disputes or objections to the selection of Qualified Bids, Successful Bids, or Backup Bids

(all as defined in the Bidding Procedures) shall be resolved by this Court at the Sale Hearing as

set forth herein.

             7.          The Stalking Horse Bidder is deemed a Qualified Bidder for all purposes, and the

Stalking Horse Bid as set forth in the Stalking Horse Sale Agreement is deemed a Qualified Bid.

In the event that no other Qualified Bids are submitted, the Debtors shall deem the Stalking

Horse Bidder to be the Successful Bidder.

             8.          The Debtors are authorized to conduct the Auction in accordance with the

Bidding Procedures. The Auction, to the extent that an Auction is necessary under the Bidding

Procedures, shall take place at 10:00 a.m. (prevailing Eastern Time) on August 7, 2019 at the

offices of the proposed counsel for the Debtors, Saul Ewing Arnstein & Lehr LLP, Centre

Square West, 1500 Market Street, 38th Floor, Philadelphia, PA 19102 (or at any other time and

location as the Debtors may hereafter designate on proper notice).                 The Auction will be

conducted openly and all creditors and the Committee will be permitted to attend.

             9.          Any creditor with a valid and perfected lien on all of the Residents Program

Assets (each, a “Secured Creditor”) shall have the right, subject in all respects to the

Bankruptcy Code and other applicable law (and the rights of the Committee and other parties in



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interest to object to or challenge such creditor’s lien thereunder (a “Challenge”)), to credit bid all

or any portion of such Secured Creditor’s allowed secured claims to purchase the Residents

Program Assets to the extent that such secured claims are valid and undisputed pursuant to

Bankruptcy Code section 363(k) or other applicable law, unless otherwise ordered by the

Bankruptcy Court for cause. The foregoing notwithstanding, any credit bid shall include a cash

component sufficient to satisfy in full all costs of sale, including the Break-Up Fee. In the event

that the Committee, or another party in interest Challenges a creditor’s lien, the approval of a

Successful Bid by such creditor that includes a credit bid shall be contingent upon a final

determination that such creditor’s lien is valid and perfected. In the event that such a creditor’s

lien is successfully Challenged, or otherwise determined not to be valid and perfected, such

creditor shall pay the credit bid portion of its Bid in cash at the closing of the Sale.

             10.         Further, in the event of a competing Qualified Bid, the Stalking Horse Bidder will

be entitled, but not obligated, to submit overbids and will be entitled in any such overbids to

include all or any portion of the Break-Up Fee in lieu of cash and have the Break-Up Fee be

treated as equal to cash in the same amount for the purposes of evaluating the overbid.

III.         Stalking Horse Bidder, Bid Protections, and Stalking Horse Sale Agreement

             11.         The Debtors are authorized to enter into the Stalking Horse Sale Agreement,

subject to higher or otherwise better offers at the Auction. The Break-Up Fee described in the

Bidding Procedures is approved. The Debtors are authorized to pay any and all amounts owing

to the Stalking Horse Bidder on account of the Break-Up Fee upon the Debtors’ closing of the

Sale with a purchaser other than the Stalking Horse Bidder (an “Alternative Transaction”). If

triggered, the Break-Up Fee: (a) shall be an allowed administrative expense claim under section

503(b) and 507 of the Bankruptcy Code and a direct cost of any such Sale; and (b) shall be

payable in at closing on the Alternative Transaction without further order of this Court; and

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(c) shall be payable solely from the proceeds of such Alternative Transaction. No Interests shall

attach to the proceeds of any such Alternative Transaction equal to the amounts owed to the

Stalking Horse Bidder on account of the Break-Up Fee.

IV.          Notice Procedures

             12.         The Auction and Sale Notice is approved.

             A.          Notice of Sale, Auction, and Sale Hearing.

             13.         Within two (2) business days after the entry of this Bidding Procedures Order, or

as soon as reasonably practicable thereafter (the “Mailing Date”), the Debtors shall serve the

Auction and Sale Notice by first-class mail, electronic mail or, for those parties who have

consented to receive notice by the Electronic Case Files (“ECF”) system, by ECF, upon (a) the

Notice Parties, (b) all Residents, and (c) all known creditors of Center City, including any

Known Patient Creditors. In addition, on or before the Mailing Date, the Debtors shall serve the

Notice to Residents and Fellows Regarding Proposed Sale of Residency Program Assets (the

“Residents’ Notice”), in substantially the form attached hereto as Schedule 2, on all Residents

by first class mail or electronic mail.

             14.         Service of the Auction and Sale Notice and the Residents’ Notice as described in

paragraph 13 above shall be sufficient and proper notice of the and satisfies all due process

requirements.

             15.         Within ten (10) days of the date of this Bidding Procedures Order, the Debtors

shall cause the notice (the “Publication Notice”) substantially in the form attached hereto as

Schedule 3 to be published once in the National Edition of USA Today and once in the

Philadelphia Inquirer. The Publication Notice shall be sufficient and proper notice of the Sale to

all creditors whose identities are unknown to the Debtors, including all of the Unknown Patient

Creditors.

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             B.          Notice of Successful Bidder.

             16.         As soon as reasonably practicable after the Bid Deadline, if no Qualified Bid

other than the Stalking Horse Sale Agreement is received by the Bid Deadline, or conclusion of

the Auction, if a Qualified Bid other than the Stalking Horse Sale Agreement is received by the

Bid Deadline, the Debtors shall file on the docket, but not serve, a notice which shall identify the

Successful Bidder.

V.           Assumption and Assignment Procedures

             17.         The Assumption and Assignment Procedures, which are set forth below,

regarding the assumption and assignment of the executory contracts proposed to be assumed by

the Debtors pursuant to section 365(b) of the Bankruptcy Code and assigned to the Stalking

Horse Bidder (or other Successful Bidder, following the Auction, if any) pursuant to section

365(f) of the Bankruptcy Code and in accordance with the Stalking Horse Sale Agreement are

hereby approved to the extent set forth herein.

             A.          Notice of Assumption and Assignment.

             18.         The Debtors previously filed with the Court, [D.I. 246], a list (the “Initial

Designated Contracts List”) specifying: (a) each of the Debtors’ executory contracts that may

be assumed and assigned in connection with the Sale (the “Initial Designated Contracts”),

including the name of each non-Debtor counterparty to such Designated Contract (the “Initial

Designated Contract Counterparty”); and (b) the proposed amount necessary, if any, to cure

all monetary defaults, if any, under the Initial Designated Contract (the “Cure Costs”).

             19.         On the Mailing Date, the Debtors shall serve the Notice of Proposed Assumption

and Assignment of Executory Contracts attached hereto as Schedule 4 (the “Initial Notice of

Assumption and Assignment”) on all Initial Designated Contract Counterparties by first-class




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mail, email or, for those parties who have consented to receive notice by the Electronic Case

Files (“ECF”) system, by ECF.

             20.         Any Initial Designated Contract Counterparty may file an objection (a “Contract

Objection”) to the proposed assumption and assignment of the applicable Initial Designated

Contract, the proposed Cure Costs, if any, and the ability of the Stalking Horse Bidder to provide

adequate assurance of future performance. All Contract Objections must: (a) be in writing;

(b) state with specificity the basis for the objection as well as any Cure Costs that the objector

asserts to be due, including each and every asserted default in the applicable contract or lease (in

all cases with appropriate documentation in support thereof); (c) comply with the Bankruptcy

Rules and the Local Rules; and (d) be filed and served on (i) Saul Ewing Arnstein & Lehr LLP,

1201 N. Market Street, Suite 2300, Wilmington, Delaware 19801, Attn: Mark Minuti

(mark.minuti@saul.com) and Centre Square West, 1500 Market Street, 38th Floor, Philadelphia,

Pennsylvania, 19102, Attn: Jeffrey C. Hampton (jeffrey.hampton@saul.com), proposed counsel

to the Debtors, (ii) Sills Cummis & Gross P.C., One Riverfront Plaza, Newark, New Jersey,

07102, Attn: Andrew Sherman (Asherman@sillscummis.com) and Boris Mankovetskiy

(BMankoverskiy@sillscummis.com), proposed counsel to the Committee, and (iii) Stevens &

Lee, P.C., 620 Freedom Business Center, Suite 200, King of Prussia, Pennsylvania 19406, Attn:

Robert Lapowsky (rl@stevenslee.com), counsel to the Stalking Horse Bidder (the “Contract

Notice Parties”) by 4:00 p.m. (prevailing Eastern Time) on August 5, 2019 (the “Initial

Designated Contract Objection Deadline”). Objections to the ability of a Successful Bidder

other than the Stalking Horse Bidder to provide adequate assurance of future performance shall

be raised at or prior to the Sale Hearing.




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             21.         If an Initial Designated Contract Counterparty files a Contract Objection in a

manner that is consistent with the requirements set forth above, and the parties are unable to

consensually resolve the dispute prior to the Sale Hearing, such Contract Objection will be

determined at the Sale Hearing.

             B.          Modification of Initial Designated Contracts List and Supplemental Notice of
                         Assumption and Assignment.

             22.         Prior to the selection of a Successful Bidder, the Debtors may not modify the

Initial Designated Contracts List without the consent of the Stalking Horse Bidder. Subsequent to

the selection of a Successful Bidder, the Debtors may not modify the Initial Designated

Contracts List without the consent of the Successful Bidder (who may be the Stalking Horse

Bidder).

             23.         Until the opening of business on the date of the Auction, if another Qualified Bid

is received by the Bid Deadline, or the conclusion of the Sale Hearing, if another Qualified Bid is

not received by the Bid Deadline, at the request of the Stalking Horse Bidder, the Debtors will

modify the Initial Designated Contracts List to add or delete contracts and/or to change stated

Cure Costs. Following the conclusion of the Auction, if an Auction occurs, and prior to the

conclusion of the Sale Hearing, at the request of the Successful Bidder (who may be the Stalking

Horse Bidder), the Debtors will modify the Initial Designated Contracts List to add or delete

contracts and/or to change stated Cure Costs, provided, however, that such deletion of any

contracts shall not result in any reduction in the Purchase Price (as defined in the Stalking Horse

Sale Agreement”), and any contracts added after the Auction will not be considered in

connection with the right of termination in Article 9.1(c) of the Stalking Horse Sale Agreement.

For the avoidance of doubt, the Initial Designated Contracts List may be modified more than




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once. The contracts listed on the Initial Designated Contracts List, as modified from time to time,

are hereafter referred to as the “Designated Contracts”).

             24.         In the event that the Initial Designated Contracts List is modified, the Debtors will

promptly serve a supplemental notice of assumption and assignment (a “Supplemental Notice of

Assumption and Assignment”) on the affected counterparty in the same manner as the Initial

Notice of Assumption and Assignment was served. Each Supplemental Notice of Assumption

and Assignment will include the same information with respect to listed contracts as was

included in the Notice of Assumption and Assignment.

             25.         Any counterparty to an executory contract listed on a Supplemental Notice of

Assumption and Assignment (each a “Supplemental Designated Contract Counterparty”)

may file an objection with respect to the applicable Designated Contract (a “Supplemental

Contract Objection”) to (a) Cure Costs (but only to the extent reduced as to contracts included

on the Initial Notice of Assumption and Assignment or any prior Supplemental Notice of

Assumption and Assignment), and (b) if such Designated Contract was not included on the

Initial Notice of Assumption and Assignment or any prior Supplemental Notice of Assumption

and Assignment, (i) the proposed assumption and assignment of the applicable Designated

Contract and (ii) the ability of a Successful Bidder, including the Stalking Horse Bidder, to

provide adequate assurance of future performance. All Supplemental Contract Objections must:

(a) be in writing; (b) state with specificity the basis for the objection as well as any Cure Costs

that the objector asserts to be due (in all cases with appropriate documentation in support

thereof); (c) comply with the Bankruptcy Rules and the Local Rules; and (d) be filed and served

on the Contract Notice Parties no later than seven (7) days from the date of service of such

Supplemental Notice of Assumption and Assignment, which date will be set forth in the



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Supplemental Notice of Assumption and Assignment (the “Supplemental Contract Objection

Deadline”).

             26.         If a Supplemental Designated Contract Counterparty files a Supplemental

Contract Objection in a manner that is consistent with the requirements set forth above and the

parties are unable to consensually resolve the dispute, (a) if the Supplemental Contract Objection

Deadline is on or before the date of the Sale Hearing, such Supplemental Contract Objection will

be determined at the Sale Hearing, and (b) if the Supplemental Contract Objection Deadline is

after the date of the Sale Hearing the Debtors will seek an expedited hearing before the Court to

determine the Supplemental Contract Objection. If there is no such Supplemental Contract

Objection (or such objection has been resolved), then the Debtors may submit an order to this

Court, including by filing a certification of counsel, fixing the applicable Cure Costs and

approving the assumption of the contract listed on a Supplemental Notice of Assumption and

Assignment.

             C.          Additional Notice of Assumption and Assignment Procedures.

             27.         If the counterparty to any Designated Contract does not file and serve a Contract

Objection or Supplemental Contract Objection, as applicable, in a manner that is consistent with

the requirements set forth above, (a) the Cure Costs, if any, set forth in the Notice of Assumption

and Assignment (or Supplemental Notice of Assumption and Assignment) shall be controlling

with respect to the applicable Designated Contract, notwithstanding anything to the contrary in

any Designated Contract or any other document, and (b) the Designated Contract Counterparty

will be deemed to have consented to the assumption and assignment of the Designated Contract

and the Cure Costs, if any, and will be forever barred from asserting any claim related to such

Designated Contract for any default occurring or continuing prior to the date of the assumption



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and assignment of such Designated Contract against the Debtors or the Successful Bidder, or the

property of any of them.

             28.         The inclusion of a Designated Contract on the Notice of Assumption and

Assignment (or Supplemental Notice of Assumption and Assignment) will not: (a) obligate the

Debtors to assume any Designated Contract listed thereon or the Successful Bidder to take

assignment of such Designated Contract; or (b) constitute any admission or agreement of the

Debtors that such Designated Contract is an executory contract.                  Only those Designated

Contracts that are included on a schedule of assumed and acquired contracts attached to the final

asset purchase agreement with the Successful Bidder (including amendments or modifications to

such schedules in accordance with such asset purchase agreement) will be assumed and assigned

to the Successful Bidder.

VI.          Sale Hearing.

             29.         A Sale Hearing to (a) approve the sale of the Debtors’ Residents Program Assets

to the Successful Bidder and (b) authorize the assumption and assignment of certain executory

contracts and unexpired leases shall be held at 11:00 a.m. (prevailing Eastern Time) on

August 9, 2019, and may be adjourned or rescheduled without further notice other than by

announcement in open court on the date scheduled for the Sale Hearing or by the filing of a

notice on the Court’s docket. At the Sale Hearing, the Debtors will seek Bankruptcy Court

approval of the Sale to the Successful Bidder, including any Backup Bidder. The Sale Hearing

shall be an evidentiary hearing on matters relating to the Sale. In the event that the Successful

Bidder cannot or refuses to consummate the Sale after the Sale has been approved by the Court,

the Debtors may, in consultation with the Committee, in accordance with the Bidding

Procedures, designate the Backup Bid to be the new Successful Bid and the Backup Bidder to be

the new Successful Bidder, and the Debtors, in consultation with the Committee, shall be

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authorized, but not required, to consummate the transaction with the Backup Bidder without

further order of the Bankruptcy Court.

             30.         Any and all objections, if any, to (a) the Sale to the Stalking Horse Bidder on the

terms of the Stalking Horse Bid as set forth in the Stalking Horse Sale Agreement and (b) entry

of the Sale Order approving such Sale (a “Sale Objection”) must be filed and served on (i) Saul

Ewing Arnstein & Lehr LLP, 1201 N. Market Street, Suite 2300, Wilmington, Delaware 19801,

Attn: Mark Minuti (mark.minuti@saul.com), proposed counsel to the Debtors, (ii) Sills Cummis

& Gross P.C., One Riverfront Plaza, Newark, New Jersey, 07102, Attn: Andrew Sherman

(Asherman@sillscummis.com) and Boris Mankovetskiy (BMankoverskiy@sillscummis.com),

proposed counsel to the Committee, and (iii) Stevens & Lee, P.C., 620 Freedom Business Center,

Suite 200, King of Prussia, Pa. 19406 Attn: Robert Lapowsky (rl@stevenslee.com), counsel to

the Stalking Horse Bidder by 4:00 p.m. (prevailing Eastern Time) on August 5, 2019 (the “Sale

Objection Deadline”). Any and all objections to the conduct of the Auction and the terms of a

Sale to a Successful Bidder (other than a Sale to the Stalking Horse Bidder on the terms of the

Stalking Horse Bid as set forth in the Stalking Horse Sale Agreement) (an “Auction Objection”)

must be raised at or prior to the Sale Hearing (the “Auction Objection Deadline”). Any party

failing to timely file a Sale Objection or raise an Auction Objection, as applicable, will be

forever barred from objecting and will be deemed to have consented to the Sale, including the

transfer of the Debtors’ right, title and interest in, to, and under the assets free and clear of any

and all Interests. For the avoidance of doubt, if the Stalking Horse Bidder is selected as the

Successful Bidder, but its successful Bid is not the Stalking Horse Bid or an increased bid based

on an agreement substantially similar to the Stalking Horse Sale Agreement, objections to a Sale




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to the Stalking Horse Bidder, limited to the changed terms (excluding any increase in price) may

be raised by the Auction Objection Deadline.

VII.         Miscellaneous.

             31.         Notwithstanding anything to the contrary in any asset purchase agreement or

document relating to the Sale, the purchased assets (including the Residents Program Assets)

shall not include (i) any cause of action or proceeds of such cause of action under chapter 5 of

the Bankruptcy Code or applicable state law equivalents; (ii) any commercial or other tort claims

arising on or before the closing date of the Sale, or any proceeds of such claims, including,

without limitation, any and all causes of action (a) against present and former directors and

officers of the Debtors and/or any of their affiliates, (b) against direct and indirect equity holders

of the Debtors and/or their affiliates, and (c) of the Debtors and/or any of their affiliates against

any other Debtors; and (iii) any claims or causes of action against the Debtors’ contract

counterparties (other than claims or causes of action arising under any contract that is assumed

by the Debtors), or any proceeds of such claims or causes of action. The provisions of this

paragraphs shall not apply to the Stalking Horse Sale Agreement, as the same may be modified

other than any modifications to the defined term “Purchased Assets.”

             32.         This order and the Bidding Procedures shall be interpreted so as to afford the

Debtors, in consultation with the Committee, the greatest opportunity to maximize the value of

the Residents Program Assets for the benefit of the Debtors’ estates provided, however, the

provisions of this paragraph shall not apply to any matters affecting the Stalking Horse Bidder

without the consent of the Stalking Horse Bidder.

             33.         The Debtors, in consultation with the Committee as applicable, are authorized to

take all actions necessary to effectuate the relief granted pursuant to this Bidding Procedures

Order in accordance with the Motion.

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             34.         Notwithstanding anything in the Motion, the Bidding Procedures, and/or the July

9, 2019 Stalking Horse LOI to the contrary, nothing in this Bidding Procedures Order shall be

construed as authorizing the sale, transfer or assignment of any Medicare provider agreement to

the Successful Bidder free and clear of successor liability for any liability to the United States

arising from such provider agreements, nor as restricting the United States’ right of setoff and

recoupment. Any assumption and assignment of the Medicare provider agreements shall be

authorized only in accordance with 11 U.S.C. § 365, all applicable Medicare statutes and

regulations, and the Anti-Assignment Act.

             35.         To the extent the Successful Bid or the Backup Bid includes the assignment of a

Medicare provider agreement, such bid must include a provision that requires the agreement be

assumed and assigned pursuant to and in accordance with section 365 of the Bankruptcy Code,

all applicable Medicare statutes and regulations, and the Anti-Assignment Act. No Successful

Bid or Backup Bid may include a requirement that any Medicare provider agreement be sold,

assigned, or transferred “free and clear” of successor liability for any liability to the United

States arising from such provider agreement pursuant to section 363(f) of the Bankruptcy Code.

             36.         This Bidding Procedures Order shall constitute the findings of fact and

conclusions of law and shall take immediate effect upon execution hereof.

             37.         This Bidding Procedures Order shall be binding on the Debtors, including any

chapter 7 or chapter 11 trustee or other fiduciary appointed for the estates of the Debtors.

Certain provisions of this Bidding Procedures Order that relate to the Break-Up Fee shall inure to

the benefit of the Stalking Horse Bidder and its affiliates, successors, and assigns.

             38.         Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),

7062, 9014, or otherwise, this Court, for good cause shown, orders that the terms and conditions



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of this Bidding Procedures Order shall be immediately effective and enforceable upon its entry.

This Court shall retain jurisdiction with respect to all matters arising from or related to the

implementation or interpretation of this Bidding Procedures Order, including, but not limited to,

any matter, claim, or dispute arising from or relating to the Bidding Procedures, any Stalking

Horse Sale Agreement, and the implementation of this Bidding Procedures Order.




           Dated: July 19th, 2019              KEVIN GROSS
           Wilmington, Delaware                UNITED STATES BANKRUPTCY JUDGE
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